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United States District Court

_ UNITED STATES DISTRICT COURT Southern District of Texas
SOUTHERN DISTRICT OF TEXAS ‘ FILED
ADR MEMORANDUM TO CLERK OF COURT JUL 15 2074

(To be submitted in duplicate
if case settles before ADR or within
10 days after completion of ADR.) Nathan Ochsner, Clerk

UNITED STATES OF AMERICA
Plaintiff(s) DIVISION _ MCALLEN
V. CIVIL ACTION NO. 7:20-CV-00084

2.433 ACRES OF LAND IN HIDALGO COUNTY: TAX RANCH, LLC, ET AL
Defendant(s)

ADR METHOD: Mediation X Arbitration
Mini-trial Summary Jury Trial

TYPE OF CASE: Land Condemnation

L. Please check one of the following:
The case referred to ADR settled X didnotsettle __

2. My total fee and expenses were: $1,200.00.
(If you had no fees and expenses, please indicate if the case settled before
ADR, OR if the ADR proceeding was conducted-on a no-fee basis pursuant
to order of the Court or agreement of the parties.)

 

 

3. Please list names, addresses and telephone numbers of all parties and all
counsel of record: .

United States of America, Plaintiff

Ms. Alyssa Iglesias, Attorney

ASSISTANT UNITED STATES ATTORNEY
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(956) 992-9351 — telephone

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2.433 Acres of Land in Hidalgo County; Tax Ranch, LLC, et al, Defendant
Mr. Lance A. Kirby, Attorney

JONES, GALLIGAN, KEY & LOZANO, L.L.P.

2300 West Pike Blvd., Ste. 300

Weslaco, Texas 78596

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.~ .» ADR PROVIDER |

Date: 07/09/21 . cen ne Name: ; Alfred T. Denham

SOTX-ADR-5/(Rev. 6-15-93)

 

Signature:

 

 

 

 
